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                   Exhibit “A”
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             Case 1:19-cv-15596-RMB-JS Document 1-1 Filed 07/19/19 Page 21 of 21 PageID: 30

                                                                  Case Summary
Case Number: CAM L-002318-19
Case Caption: Arroyo Rosy Vs Chuck E. Cheese
Court: Civil Part                                           Venue: Camden                                   Case Initiation Date: 06/07/2019
Case Type: Personal Injury                                  Case Status: Active                             Jury Demand: 12 Jurors
Case Track: 2                                               Judge: Daniel A Bernardin                       Team: 201
Original Discovery End Date:                                Current Discovery End Date:                     # of DED Extensions: 0
Original Arbitration Date:                                  Current Arbitration Date:                       # of Arb Adjournments: 0
Original Trial Date:                                        Current Trial Date:                             # of Trial Date Adjournments: 0
Disposition Date:                                           Case Disposition: Open                          Statewide Lien:

Plaintiffs
I      A
Party Description: Individual                                                                               Attorney Name: David S Rochman
Address Line 1: 105 Forest Road                                         Address Line 2:                     Attorney Bar ID: 037871990

City: Cherry Hill                   State: NJ                           Zip: 08034                          Phone:

Attorney Email: DAVIDROCHMAN@ROCHMANLAW.COM
Rosy Arroyo
Party Description: Individual                                                                               Attorney Name: David S Rochman
Address Line 1: 105 Forest Road                                         Address Line 2:                     Attorney Bar ID: 037871990

City: Cherry Hill                   State: NJ                           Zip: 08034                          Phone:

Attorney Email: DAVIDROCHMAN@ROCHMANLAW.COM

Defendants
Chuck E. Cheese
Party Description: Business                                                                                 Attorney Name:
Address Line 1:                                                         Address Line 2:                     Attorney Bar ID:
City:                               State: NJ                           Zip: 00000                          Phone:
Attorney Email:
Cec Entertainment, Inc.
Party Description: Business                                                                                 Attorney Name:
Address Line 1:                                                         Address Line 2:                     Attorney Bar ID:
City:                               State: NJ                           Zip: 00000                          Phone:
Attorney Email:
Case Actions
Filed Date          Docket Text                                                                       Transaction ID           Entry Date
                    Complaint with Jury Demand for CAM-L-002318-19 submitted by ROCHMAN, DAVID S,
6/7/2019            DAVID S. ROCHMAN on behalf of ROSY ARROYO, I           A       against CHUCK E.   LCV20191007574           6/7/2019
                    CHEESE, CEC ENTERTAINMENT, INC.
6/8/2019            TRACK ASSIGNMENT Notice submitted by Case Management                              LCV20191010027           6/8/2019
                    AFFIDAVIT OF SERVICE submitted by ROCHMAN, DAVID, S of DAVID S. ROCHMAN
7/3/2019            on behalf of I      A       , ROSY ARROYO against CHUCK E. CHEESE, CEC            LCV20191162921           7/3/2019
                    ENTERTAINMENT, INC.
                    AFFIDAVIT OF SERVICE submitted by ROCHMAN, DAVID, S of DAVID S. ROCHMAN
7/11/2019           on behalf of I      A       , ROSY ARROYO against CHUCK E. CHEESE, CEC            LCV20191202389           7/11/2019
                    ENTERTAINMENT, INC.
